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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )        8:04CR338
                      Plaintiff,              )
                                              )           ORDER
               vs.                            )
                                              )
MICHAEL J. HALL,                              )
                                              )
                      Defendant.              )



      IT IS ORDERED that defendant’s motion to continue (Filing No. 42) is granted. The
Change of Plea hearing is continued to December 28, 2005 at 10:00 a.m. before
Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman L. Hruska
U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between November 29, 2005 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present unless excused by the
Court.

         DATED this 29th day of November, 2005.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
